
248 F.Supp.2d 444 (2003)
UNITED STATES of America, Plaintiff,
v.
GOVERNMENT OF THE VIRGIN ISLANDS, Defendant.
No. CIV.84-104.
District Court, Virgin Islands, D. St. Thomas and St. John.
March 7, 2003.
David Nissman, Esq., United States Attorney, William Dillon, Esq., Special Assistant United States Attorney, David Lewis, Esq., Assistant United States Attorney, Donald G. Frankel, Esq., U.S. Department of Justice, for the plaintiff.
Iver A. Stridiron, Esq., Attorney General, Michael Law, Esq., Assistant Attorney General, Douglas Jurgens, Esq., Assistant Attorney General, for the defendant.

ORDER

Agreed Modifications for Exhibit A Repairs
MOORE, District Judge.
Pursuant to the Court's direction at the end of the February 13, 2003 Status Conference in this matter, the Government of the Virgin Islands reached an agreement with the United States for new deadlines for wastewater repairs, including some additional repairs to the Exhibit A projects. These agreed modifications are incorporated into Exhibit A of the Court's December 19, 2001 Order (as amended by the Court's November 19, 2002 Order). Having considered the entire record in this matter, including the testimony and documentary evidence presented at the hearings on January 30, February 3 and 13, 2003, and based on the agreement of the parties, it is hereby,
ORDERED, ADJUDGED AND DECREED that:
The revised deadlines for the projects/repairs covered by the invalid and now-cancelled GRM Contract, as well as with respect to the other projects/repairs required by the Court's December 19, 2001 Order (as amended by the Court's November 19, 2002 Order) that, as discussed at the Status Hearing held on February 13, 2003, have not been completed in a timely manner set forth in the "Agreed Modifications for Exhibit A Repairs" and "Exhibit A Schedule for Repairs (As agreed to by *445 parties on February 27, 2002)" are adopted by the Court as follows:
A. ST. CROIX
1. St. Croix Wastewater Treatment Plant

a. Mechanical Seals will now be used at the Plant and these seals are to be installed by April 15, 2003.
b. A written Standard Operating Procedure, acceptable to EPA, will be submitted by March 30, 2003.
2. St. Croix Sewer Collection System

(These Projects were formerly covered under the Global Resources Management Contract.)
a. Race Track RepairMay 30, 2003 to begin construction and August 31, 2003 to complete work.
b. Bethlehem Gut RepairMay 30, 2003 to begin construction and August 31, 2003 to complete work.
c. Catherine's Rest RepairMay 30, 2003 to begin construction and August 31, 2003 to complete work.
d. Adventure Gut Investigation and RepairComplete investigation by March 31, 2003. If repairs are needed, begin construction by May 30, 2003 and complete construction by August 31, 2003.
3. Figtree Pump Station
a. Repairs to Pumps. The deadlines for repairs for all the pumps are extended to April 30, 2003.
b. Replace Motor Control Center for all Pumps, refurbish Starters and Controllers. The deadline is extended from February 3, 2003 to April 30, 2003.
c. Replace or repair air exhaust/inlet ventilation system in the wet-well. The deadline for this repair is extended from December 31, 2002 to April 30, 2003.
d. Replace Check Valves, flanges and spool pieces. The deadline for this repair is extended from February 3, 2003 to April 30, 2003.
e. Repair/reinforce all house pump anchor bases. The deadline for this repair is extended from February 3, 2003 to April 30, 2003.
4. Lagoon Street Pump Station
a. New Emergency Generator shall be installed by April 30, 2003.
b. Inspection of discharge pipe shall be completed by May 30, 2003 and all repairs completed by November 30, 2003.
5. LBJ Pump Station
a. New Emergency Generator. The Generator is on-island but further engineering is required before it can be installed. The Parties have agreed to extend this deadline to March 28, 2003.
b. Replace or repair any Pumps that are not operational so that all the house pumps are in full operational condition at all times. The parties have agreed to extend this deadline to April 30, 2003.
6. New 2003 St. Croix Projects/Repairs
The parties have agreed to add some new projects/repairs with associated deadlines to Exhibit A. These projects and repairs are to be funded from the Wastewater Corrective Action Trust Fund bank account (created pursuant to Section A.3 of the Court's December 19, 2001 Order). The Government shall reimburse the bank account for these projects/repairs by September 30, 2003.
a. Lagoon Street Pump Stationreplace or repair any pumps that are not operational so that all three *446 house pumps are in full operational conditionJuly 31, 2003.
b. St. Croix Pump Stations other than LBJ, Figtree, and Lagoon Streetreplace or repair any pumps that are not operational so that all the house pumps are in full operational conditionAugust 31, 2003.
c. St. Croix Pump Stations other than LBJ, Figtree and Lagoon Streetreplace or repair any emergency generators that are not operational so that all emergency generators are in full operational conditionMay 30, 2003.
d. Lagoon Street Pump Station and LBJ Pump Stationinstall "T" valves so that an emergency diesel pump can be used at these stationsJuly 31, 2003.
e. Acquire an additional diesel emergency pump for use on St. Croix July 31, 2003.
f. Estate Diamond Sewer Repair August 31, 2003.
7. Sanitary Sewer System Evaluation
The Government is given until March 31, 2004 to complete this project.
B. ST. THOMAS
1. Airport Lagoon.

The Government is given until March 14, 2003 to have all repairs completed and the plant fully operational. The deadline for reinforcement of the Lagoon West Berm is extended to March 31, 2004. The VI Government has taken the position that this requirement should be deleted because it does not have control and jurisdiction over this area to effectuate the repair. The VI Government shall submit its justification to EPA and EPA shall determine whether it agrees that this requirement should be deleted.
2. Cancryn Pump Station

The deadline is extended for installation of the explosion-proof lights and other repairs is extended to March 30, 2003 with the exception of the repairs to the hoist which shall be completed by April 30, 2003.
3. Long Bay Pump Station

The parties have agreed to extend the deadline for these repairs from January 31, 2003 to March 30, 2003 with the exception of the installation of the hoist which shall be completed by April 30, 2003.
4. Airport Pump Station

The parties have agreed to extend the deadline for all repairs to March 30, 2003 with the exception of the hoist support frame and hoist which shall be completed by April 30, 2003.
5. Vessup Bay WWTP

The VI Government is given until March 30, 2003 to submit either a plan for replacement of the plant or an estimate from a qualified contractor for the repair (lining) of the tank walls. If the tank walls are to be repaired, the walls shall be repaired by August 31, 2003. If the entire plant is to be replaced, the VI Government is given until March 30, 2004 to have a replacement plant installed and in operation.
6. Brassview WWTP

The Parties have agreed to extend the deadline for these repairs to March 30, 2003.
C. ST. JOHN
1. Construction of Power Boyd Pump Station.

Plans and specifications shall be prepared by August 30, 2003 and construction of the station is to be completed by *447 August 30, 2004. The Government has indicated that the construction of the plant may not be feasible until there is a sufficient level of rate payers to justify construction of the station. The Government shall submit a written justification to the EPA and the EPA shall review any such submission in order to determine whether it agrees with the Government's position to delay the project. It is further
ORDERED AND DECREED, that the Revised Exhibit A, Schedule for Repairs (As agreed to by parties on February 27, 2003), is attached hereto and incorporated herein by reference

            Exhibit A Schedule for Repairs
    (As agreed to by parties on February 27, 2003)
          Projects/Repairs                     Current deadlines     New completion
                                               (as of Court's       dates agreed to by
                                               November 2002        the VI Govt and
                                               Order)                  the EPA.
           St. Croix
St. Croix    contract operation until the       November 30, 2002
WWTP         Virgin Islands has achieved six    (start date) March
             consecutive months of compliance   29, 2003 completion
             with all applicable effluent       date for all three
             limitations (see Amended  islands
             Decree Section V.3)
             repair septage receiving station    February 8, 2002      COMPLETED
             or replace by positive displacement Completed
             pump
             replace/repair the mechanical       August 28, 2002      COMPLETED
             bar screens mechanism
             repair grit collector mechanism;    Manual operation      Written SOP to be
             install new sluice gates, new       of mechanism with     Submitted by March
             railings, cross members, frame,     vacuum truck is       30, 2003.
             and grit scrapers                   allowed until plant
                                                 is upgraded or
                                                 replaced
             repair or replace the sludge        December 31, 2002      COMPLETED
             removal mechanism (scraper
             system) in the clarifiers, refurbish
             the sludge drain pipes and
             sludge waste pumps
             repair overhead crane limit          February 28, 2002     COMPLETED
             switch
             replace one variable speed           November 15, 2002     COMPLETED
             starter and two single speed
             starters for influent pumps
             repair mechanical seals for          November 30, 2002      April 15, 2003             influent pumps                       (packing seals)
                                                  (packing seals)        (mechanical seals)
             repair collapsed land portion of     October 31, 2002       COMPLETED
             outfall
             repair digester pumps                April 30, 2002          COMPLETED
                                                  Completed
St. Croix    repair Race Track open hole          December 30, 2002       Begin construction
Sewer        with sewage flowing through                                  by May 30, 2003.
Collection   it located adjacent to the east                              Complete repair by
System       Airport road and the Randal                                  August 31, 2003.
             "Doc" James Horse Race Track


*448
             repair Bethlehem Gut sewer              December 30, 2002     Begin construction
             line discharging into the                                     by May 30, 2003.
             Bethlehem Gut, west of the                                    Complete repair by
             Territorial Court, at the bridge                              August 31, 2003.
             which traverses the Bethlehem
             Gut.
             Investigate and repair                  December 30, 2002     Begin construction
             Catherine's Rest collapsed line                               by May 30, 2003.
             segment.                                                      Complete repair by
                                                                           August 31, 2003.
             Investigate Adventure Gut                December 30, 2002    Complete investigation
             accumulation of raw sewage                                    by March 31,
             near the Patrick Sweeney Police                               2003. If repairs
             Headquarters.                                                 are required, begin
                                                                           construction by
                                                                           May 30, 2003 and
                                                                           complete construction
                                                                           by August 31,
                                                                           2003.
             Conduct sanitary sewer system           March 29, 2003       March 31, 2004
             evaluation survey, infiltration/
             inflow studies with recommendations
             to replace or repair
             collapsed sewer line segments
             around St. Croix and stop
             inflow.
             Replace or repair any collapsed        September 30, 2005
             sewer line segments in St. Croix       All three islands
             not identified above and stop
             inflow in accordance with sanitary
             sewer system evaluation
             survey recommendations
Figtree      Overhaul house Pump No. 3,             April 30, 2002
Pump         refurbish and replace the              completed
Station      bearings
             evaluate and repair overhead                                      COMPLETED
             crane
             replace or repair any pumps             January 20, 2003          April 30, 2003
             that are not operational, so that       (one pump) February
             all the house pumps are in full         3, 2003 (second
             operational condition at all            pump)
             times.
             replace motor control center for        February 3, 2003          April 30, 2003
             all pumps, refurbish starters
             and comptrollers
             replace or repair air exhaust/          December 31, 2002         April 30, 2003
             inlet ventilation system in wet
             well
             replace check valves, flanges           February 3, 2003          April 30, 2003
             and spool pieces
             repair/reinforce all house pumps         February 3, 2003         April 30, 2003
             anchor bases
             refurbish emergency generator            February 28, 2003        April 30, 2003
             (alternate power unit)                   (to replace


*449
Lagoon       new emergency generator                  February 28, 2003        April 30, 2003
Street P S   (alternate power unit)
             repair of the discharge pipe                                      Inspeaction completed
                                                                               by May 30, 2003.
                                                                               Repairs completed by November 30,
                                                                               2003
LBJ PS      new emergency generator                    December 30, 2002       March 28, 2003
            (alternate power unit)
            replace or repair any pumps                February 3, 2003        April 30, 2003
            that are not operational, so that
            all the house pumps are in full
            operational condition at all
            times
NEW 2003
ST. CROIX
REPAIRS
Lagoon       Replace or repair any pumps                                       July 31, 2003
Street PS    that are not operational so that
             all three house pumps are in full
             operational condit
Lagoon       Install T valves so that an                                       July 31, 2003
Strret and   emergency diesel pump can be
LBJ Pump     used at these stations.
Stations
St. Croix    Replace or repair any pumps                                       August 31, 2003
Pump         that are not operational so that
Stations     all the house pumps are in full
(other than  operational condition
LBJ,         Replace or repair emergency                                       May 30, 2003
Figtree and  generators that are not operational
Lagoon       so that all emergency
Street).     generators are in full operational
             condition.
St. Croix    Acquire emergency diesel pump                                     July 31, 2003
Diesel Pump  for use on St. Croix.
Estate       Repair the existing sewer                                         August 31, 2003
Diamond      problem.
Funding for   The new 2003 repairs shall be                                    September 30, 2003
the new 2003  funded from the bank account                                     to reimburse bank
Repairs        created pursuant to section A.3                                 account
              of the Court's December 19,
              2001 Order. The Virgin Islands
              shall reimburse the account for
              the funds required for these
              repairs/projects.
                      St. Thomas
Airport      repair or replace chlorine generator     December 30, 2002        COMPLETED
Lagoon       or put in place an alternative
WWTP         disinfection program


*450
             repair or replace all mechanical         December 30, 2002        COMPLETED
             blowers, repair air manifolds
             for the aeration system, install
             miscellaneous air piping, valves,
             fittings and diffusers
             repair or replace baffle curtain         December 30, 2002        COMPLETED
             headwork improvements', install          December 30, 2002        March 14, 2003
             screening device to trap objects
             (bar screen), install distribution
             header and diffuser to allow
             influent to enter lagoon below
             water surface and eliminate
             existing influent fall into the
             lagoon, install flow meter,
             remove sludge from lagoon.               December 30, 2002        COMPLETED
             Repair internal sludge recycling         December 30, 2002        COMPLETED
             mechanism
             enance sampling points                   December 30, 2002        COMPLETED
             (influent and effluent locations),
             provide platform (rest) for sampling
             equipment
             reinforce lagoon west berm                December 30, 2002       March 24, 2004
             repair access road                        December 30, 2002       COMPLETED
             refurbish administration                  August 31, 2002         COMPLETED
             building                                  completed
             refurbish/repair emergency                April 30, 2002          COMPLETED
             generator                                 completed
             contract operation until the               December 30, 2003
             Virgin Islands has achieved six
             consecutive months of compliance,
             utilities/chemicals
Cancryn PS   repair/ replace inlet/exhaust             Exhaustcompeted  March 30, 2003 for
             air ventilation system, install                                   all repairs except
             explosion-proof lights in dry                                      hoist which shall be
             well, repair or replace bar                                        completed by April
             screen, provide overhead crane                                     30, 2003
             or lift for operator to remove
             screened debris
                                                   Lights December
                                                   31, 2002
                                                   Bar screens/crane
                                                   January 31, 2003
Long Bay      repair/replace inlet/exhaust         January 31, 2003            March 30, 2003 for
PS            air ventilation system, repair/                                  all repairs except
              replace explosion-proof lights in                                 hoist which shall be
              dry well, repair or replace bar                                  completed by April


*451
             screen, provide overhead crane                                    30, 2003
             or lift for operator to remove
             screened debris
Airport PS   repair/replace inlet/exhaust        Bar screen/crane              March 30, 2003 for
             air ventilation system, repair/      January 31, 2003             all repairs except
             replace explosion-proof lights in                                 hoist which shall be
             dry well, repair or replace bar                                   completed by April
             screen, provide overhead crane                                     30, 2003
             or lift for operator to remove
             screened debris
Vessup Bay   replace tank walls that are          December 30, 2002            By March 30, 2003
WWTP         corroded                                                          submit a plan for
(Nazareth)                                                                     either replacement
                                                                               or lining of tank
                                                                               walls, Repair tank
                                                                               walls by August 31,
                                                                               2003 if this opinion is
                                                                               used or replace entire
                                                                               plant by March
                                                                               30, 2004
Brassview    Repair/place outfall or               December 30, 2002           March 30, 2003
WWPT         implement acceptable effluent
             disposal method (i.e.; resource
             recovery for agricultural purposes)
             including plant rehab
Mangrove     contract operation to continue        January 31, 2002 or
Lagoon       for two years from commencement       from start up of
WWTP        of operation of plant (see    Mangrove (whichever occurs firest)
            Amended Decree Section V.l)
Emergency   Repair of collapsed sewer lines                                    COMPLETED
Sewer Line  at Territorial Court and Airport
Repairs     Road.
                 St John
George     Replace concrete lid and access          March 31, 2002             COMPLETED
Simmonds   hatch, install new pump bases
PS         and rails, install new control
           panel, and replace or repair
           fencing.
Cruz Bay   Replace or repair pump that is           completed                  COMPLETED
Ejector PS not operational, replace pump
           controls and electrical boxes.
Cruz Bay   Repair or replace two nonoperational     Pending execution          COMPLETED
Pond Mouth pumps, repair or                         of Operations
PS         replace emergency generator.             Contract October
                                                    31, 2002
           construct new Power Boyd                August 30, 2003             Plans and specifications
                                                                               to be submitted
                                                                               by August 30,
                                                                               2003. Completion
                                                                               of project by
                                                                               August 30, 2004.
CruzBay   contract operation to continue          Started 06-28-2001
WWTP      until for two years from
          commencement of operation


*452
        of plant (see Amended Decree
        Section V.l)
George   Improvements for the George              April 30, 2003
Simmonds Simmonds WWTP to enhance
WWTP     treatment capabilities
                        Miscellaneous
         Reimburse the $1.9 million of               March 31, 2002            COMPLETED
         funds that the Virgin Islands               Completed
         has indicated were incorrectly
         taken out of an account for the
         Mangrove Lagoon project.
         Purchase equipment, hand tools              July 30, 2002
         and materials for in-house repairs.
         Purchase water truck,
        vehicles, existing vehicle repair

